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 6
                           UNITED STATES DISTRICT COURT
 7
                         CENTRAL DISTRICT OF CALIFORNIA
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 9 STRIKE 3 HOLDINGS, LLC,                       Case No.: 5:20-cv-01117-TJH-SPx
10                        Plaintiff,             PROTECTIVE ORDER AND
                                                 ORDER SEALING DOCUMENTS
11 vs.                                           [17]
12 JOHN DOE subscriber assigned IP
      address 172.116.239.58,
13
                          Defendant.
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            THIS MATTER was opened to the Court by Lincoln D. Bandlow, Esq., on
16
      behalf of Plaintiff Strike 3 Holdings, LLC (“Plaintiff”), and by Steven Vondran,
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      Esq., on behalf of Defendant John Doe subscriber assigned IP address
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      172.116.239.58 (“Doe”), as a joint stipulation for the entry of a consent protective
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      order pursuant to Fed. R. Civ. P. 26(c) and for entry of an order sealing documents
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      pursuant to Local Rule 79-5 et seq.; the Court having considered the parties’
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      written submissions in connection with the request pursuant to Federal Rule of
22
      Civil Procedure 78, and for good cause shown
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            IT IS on this 16th day of OCTOBER , 2020,
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             1.     ORDERED that the Clerk of the Court shall maintain the caption of
25
      this matter as “Strike 3 Holdings, LLC v. John Doe subscriber assigned IP address
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      172.116.239.58” through all stages of the proceeding;
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                  [PROPOSED] PROTECTIVE ORDER AND ORDER SEALING DOCUMENTS

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 1          2.     IT IS FURTHER ORDERED that Defendant may continue to litigate
 2 this matter pseudonymously as “John Doe” unless and until this Court orders

 3 otherwise;

 4          3.     IT IS FUTHER ORDERED that Plaintiff shall not publicly disclose
 5 to any third party any information identifying the Defendant and/or any person

 6 associated with the defendant, tenants, guests, members of their household,

 7 including but not limited to disclosing or divulging any alleged social media or other

 8 evidence of any alleged BitTorrent activity, absent express permission by this

 9 Court;

10          4.     IT IS FURTHER ORDERED that all documents identifying the
11 Defendant and/or any person associated with the Defendant, including alleged

12 social media and other evidence of alleged BitTorrent activity, shall only be filed

13 on the public docket in redacted form (ensuring that known personally identifiable

14 information is not disclosed), with unredacted versions filed on the public docket;

15          5.     IT IS FURTHER ORDERED that Plaintiff may file its unredacted
16 First Amended Complaint and unredacted return of service under seal;

17          6.     IT IS FURTHER ORDERED to the extent any party in this action
18 needs to file any pleadings or documents in this matter that contain Defendant’s

19 name or other identifying information, such pleadings or documents are to be filed

20 first on the public docket with such name or other identifying information redacted

21 and then an unredacted version of any such pleading or document is to be filed

22 under seal.

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24
                                     HON. TERRY J. HATTER, JR.
25                                   UNTIED STATES DISTRICT JUDGE
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                 [PROPOSED] PROTECTIVE ORDER AND ORDER SEALING DOCUMENTS

                                                            Case No. 5:20-cv-01117-TJH-SP
